              Case 18-15716      Doc 37     Filed 10/31/18     Page 1 of 3



                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MARYLAND
                              Baltimore Division


In Re: Peter A. Stevens, Jr. and Debra R.        Case No. 18-15716 - RAG
       Stevens fka Debra R. Beamer               Chapter 7

    RESPONSE TO CHAPTER 7 TRUSTEE’S MOTION TO SELL REAL
PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
       INTERESTS PURSUANT TO 11 U.S.C. § 363(B), (F), AND (M)

       COMES NOW, New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing

(hereinafter “Respondent”), by and through undersigned counsel and hereby responds to

the Motion to Sell Real Property Free and Clear of Liens, Claims, Encumbrances and

Interests Pursuant to 11 U.S.C. §363(B), (F), and (M), filed herein and in support thereof

states as follows:

       1.      The allegations of paragraphs 1 and 6 are admitted.

       2.      In response to paragraph 7, Respondent is without sufficient knowledge or

information to admit or deny the allegations as to the actual value of the real property

located 65 Lee Way, Elkton Maryland 21921 (“Property”). Further, Respondent denies

that its claim secured on the Property is $363,599.65. The current amount owed on

Respondent’s claim is equal to or greater than the scheduled value of $368,965.00.

Respondent obtained relief from the automatic stay by an Order entered in this matter on

August 2, 2018, and docketed as docket number 21.

       3.      Paragraphs 8 and 9 do not require a response.

       4.      Paragraph 10 is a statement of law and as such does not require a response

but should one be needed the same is denied.
              Case 18-15716         Doc 37   Filed 10/31/18    Page 2 of 3



       5.      Respondent is without sufficient knowledge or information to either admit

or deny the allegations in paragraphs 11 through 14.

       6.      Paragraph 15 is a statement of law and as such does not require a response

but should one be needed the same is denied.

       7.      Respondent is without sufficient knowledge or information to either admit

or deny the allegations in paragraphs 16 through 19.

       8.      Paragraphs 20 and 21 are statements of law and as such does not require a

response but should one be needed the same is denied.

       9.      Respondent is without sufficient knowledge or information to either admit

or deny the allegations in paragraphs 22 and 23.

       WHEREFORE, Respondent, by and through undersigned counsel respectfully

requests that this honorable court deny the Chapter 7 Trustee’s Motion to Sell Real

Property Free and Clear of Liens, Claims, Encumbrances and Interests Pursuant to 11

U.S.C. §363(B), (F), and (M), or in the alternative, authorize the sale of the property

subject to the written approval of the Respondent and for such other and further relief as

this court deems just and proper.



                                               /s/Joshua Welborn, Esq. (Jwel)
                                               Joshua Welborn, Esq.
                                               Attorney for Movant
                                               Bar No. 29359
                                               McCabe, Weisberg & Conway, LLC
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              Case 18-15716       Doc 37     Filed 10/31/18      Page 3 of 3




                             CERTIFICATE OF SERVICE

I hereby certify that on the 31st day of October, 2018 I reviewed the Court’s CM/ECF

system and it reports that an electronic copy of the foregoing pleading will be served

electronically by the Court’s CM/ECF system on the following:


Brian A. Goldman
Goldman & Goldman, P.A.
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I hereby further certify that on the 31st day of October, 2018, a copy of the foregoing

pleading was also mailed first class mail, postage prepaid to:


Peter A. Stevens, Jr.
65 Lee Way
Elkton, Maryland 21921
(Via U.S Mail)

and

Debra R. Stevens fka Debra R. Beamer
65 Lee Way
Elkton, Maryland 21921
(Via U.S Mail)

                                             /s/ Joshua Welborn, Esq.
                                             Joshua Welborn, Esq.
